Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 1 of 30

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

wAco orvrsloN
BEIJING tom sCIENCE &
TECHNOLOGY Co., LTD., and BEIJING
QIYI CENTURY SCIENCE &
TECHNOLOGY Co., LTD.
P*ai“*i“§» CIvIL ACTION NO. 6=19-cv-00272
V.

ITALK GLOBAL COMMUNICATIONS,

 

INC., a Texas corporation dib/a ITALKBB ']URY TRIAL DEMANDD
and ITALK-BB; and DOES 1 through 100,
inclusive,
Defendants.
COMPLAINT

Plairitiffs Beij ing iQIY l Science & Technology Co,, Ltd, and Beijing Qiyi Century Science

& Technology Co., Ltd,, by and through their attorneys, allege as follows:
PARTIES

l, Plaintiffs Beijing iQIYI Science & Technology Co., Ltd. (“Beijing iQIYI”) and
Beijing Qiyi Century Science & Technology Co,, Ltd. (“Beijing Qiyi Century”) are Chinese
corporations with their principal place of business at llfF, iQIYI Innovation Building, No, 2
Haidian North lst Street, Beijing, 100080, China. Beijing iQIYI and Beijing Qiyi Century are
affiliated entities of iQIYI, lnc,, (“iQIYI”), an innovative market-leading online entertainment
service platform Beijing iQIYI operates iQIYI’s intemet video streamng services and is in the
business ot`, inter alia, distributing and streaming audio-visual programming over the lnternet to

viewers around the world. Beijing Qiyi Century owns certain trademark rights of iQIYI,

US 6115083

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 2 of 30

2. On information and belief, iTalk Global Communications, lnc., dfb/a iTall<BB or
iTalk-BB (“iTalkBB”) is a Texas corporation with its principal places of business in Austin, Texas
and Mclean, Virginia, See https:i’fwww,italkbb.com!usi’en!contact-us,html?business (listing U,S.
headquarters addresses as 1122 S. Capital of Texas Highway, Suite 3?5, Austin, TX ?8?46 and
7926 Jones Branch Drive, Ste 1100, Mclean, VA 22102) (last accessed April 22, 2019). On
information and belief, iTall<BB provides mobile communication services and lnternet Protocol
Television (“[PTV”)' contents to the overseas Chinese community, including in this Judicial
District.

3. On information and belief, DOES l to 100 are various persons and entities, whose
names are presently unknown to Plaintiffs, who are liable for the wrongful acts set forth herein,
On information and belief, these persons and entities are engaged in the unlawful and unauthorized
copying, importation, distribution, promotion and other exploitation of Plaintiffs’ copyrighted
audio-visual programs

4, The DOE defendants include various iTalchB affiliated entities that control, are
controlled by, or under common control with Defendants. For example, a Texas taxable entity
search of “i'l`alkBB” shows multiple potentially affiliated entities, such as iTalkBroadBand
Corporation, iTalk Holdings, LLC, iTalk Inc,, iTalk Mobile Corporation, iTalk Wireless, LLC,
i'l`alkBB Media Inc., iTalkBB VIP, Inc., and iTalkZU Cornmunications LLC, Plaintiffs do not
know which affiliated entities_either in Texas or in other states_are additionally responsible,
along with iTalkBB, for the wrongful acts set forth herein.

5. 'l`he DOE defendants also include iTalkBB’s members andi‘or their agents who are
unlawfully importing, reproducing, distributing, and publicly performing Plaintiffs’ copyrighted
materials and uploading them onto the iTalkBB platform On information and belief, Defendants

engage “a professional content editing team of iTalkBB [that] specializes in searching and editing

 

1 IPTV is a system that delivers television content over lnternet Protocol (IP) networks, instead
of being delivered through traditional TV broadcasting, satellite si gnal, or cable television
formats. See httns://en.wikinedia.org/wikiflPTV.

US 6115083

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 3 of 30

the shows and topics that interest immigrants the most, allowing customers to enjoy the best quality
Chinese news and entertainments while living abroad.” See
http://www.shuzhangl l20,com!italkbbi’uncategorized/italkbb-meeting[ (last accessed April 22,
2019). On information and belief, Defendants either alone or conspiring with their agents, such
as ETTV America, to unlawful import, reproduce, distribute, and publicly perform Plaintiffs’
copyrighted materials and upload them into the iTalkBB platform Neither Defendants nor their
agents have the authorization, license or consent from Plaintiffs to engage in these infringing
activities.

6. The DOE defendants further include iTalkBB’s executives, managers, and
supervising persons, who had knowledge of the copyright infringement, and induced or materially
contributed to the infringing activities. These individual Defendants have direct financial benefit
from the infringing activities alleged herein, ignored their obligation to supervise the infringers,
and induced and materially contributed to the infringing activities Defendants’ business entity is
the instrumentality, conduit, and alter ego of the individual Defendants to avoid personal liability.

?. Plaintiffs will seek leave of Court to amend the Complaint to add the true names
and capacities of such persons and entities and to allege the exact nature of their wrongful conduct
when such information has been ascertained

8. On information and belief, each of the Defendants acted knowingly, willingly, and
intentionally, both individually and in concert with other Defendants, and certain Defendants are
the agent, representative, or alter ego of other Defendants.

W

9, This Court has jurisdiction over the subject matter of this dispute The first, second,
third, and fourth claims for relief arise under the copyright law of the United States, l? U,S,C. §
101 , er seq, This Court has subject matter jurisdiction over these claims under 1? U.S.C, § 501, er
seq. and 28 U.S,C. §§ 1331 and 1338(a).

10. The fifth claim for relief arise under the trademark laws of the United States, 15

U.S.C. § 1051 et seq. (the “Lanham Act”), and common law trademark infringement This Court

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 4 of 30

has subject matter jurisdiction over this claim pursuant to 15 U,S.C, § 1125(a), 28 U,S,C. § 1331,
28 U.S.C, § 1338(a) & (b),

11. The Court has supplemental jurisdiction over the sixth claim for relief under 28
U.S.C. § 136T(a). The sixth claim is so related to the other claims over which the Court has original
jurisdiction that they form a part of the same case or controversy under Article 111 of the United
States Constitution.

12. This Court has specific and general personal jurisdiction over Defendants pursuant
to due process and/or the Texas Long Arrn Statute, because Defendants purposefully availed
themselves of the rights and benefits of Texas by conducting substantial business in this forum,
including: (i) at least a portion of the infringements alleged herein; and (ii) regularly doing or
soliciting business, engaging in other persistent courses of conduct, and/or deriving substantial
revenue from goods and services provided to individuals in Texas and in this Judicial District.

13. On information and belief, Defendant iTall<BB Global Communications, lnc. is
incorporated in Texas and has its principal place of business in Austin, Texas. See
https://www.italkbb.com/us/enfcontact-us,html?business (listing its U.S. headquarters address as
1122 S. Capital of Texas Highway, Suite 3?5, Austin, TX ?8?46).

14. On information and belief, Defendants market, promote, sell, offer to sell,
reproduce, and distribute their communication and IPTV products and services to Texas residents
through its website, telephone, and interstate mail, Defendants purposefully ship infringing
products through an established distribution channel with the expectation that those products
would be sold in Texas, including in this J udicial District.

PLAINTIFFS’ BUSINESS AND SERVICES

15. iQIYI is an innovative market-leader in online entertainment service in China,
iQIYI is one of the largest internet companies in China in terms of user base, and provides highly
popular original content, as well as a comprehensive selection of professionally-produced, partner-

generated, and self-generated audio-visual shows and programs The iQIYl platform offers a

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 5 of 30

variety of services encompassing internet video, live broadcasting, online games, online literature,
animations, e-commerce and social media platform

16. Plaintiff Beijing iQIYI was established in about 2012 and operates iQIYI’s internet
video streaming service, the largest internet video streaming service in China in terms of user time
spent and average total monthly active users. Plaintiff Beijing Qiyi Century is a wholly-owned
subsidiary of iQ_IYI and owns certain trademark rights of iQIYI, For the year of 2018, iQIYI’s
average mobile monthly active users were 454,5 million and the average mobile daily active users
were 135,4 million, On average, iQIYI’s users spent 9.4 billion hours per month watching video
content on its platform through all devices, and spent 1,6 hours per day per user watching video
content on the mobile apps during the year, iQIYI has consistently ranked No, l since July 2015
in terms of combined PC and mobile video streaming total time spent market share, Through its
license partner, Beij ing iQIYI also operates the largest smart TV video streaming service in China
as measured by monthly active devices

17. Over the years, iQIYI has developed industry-leading content origination and self-
production capability iQIYI produced highly popular, trend-setting original content, which
attracts a massive user base and differentiates iQIYI from its competitors In 201?, iQIY 1 released
5 of the top 10 original internet variety shows and 6 of the top 10 original internet drama series in
China,

18. Equipped with strong content distribution capability, iQIYl is the go-to internet
video streaming platform in China for premium content providers. iQ[Y 1’ s strong partnership with
premium content providers enables it to continually curate a comprehensive repertoire of
blockbuster content. The iQIYI platform featured 42 out of the top 50 most popular drama series,
variety show and film titles streamed on the internet in China in 201?, ln addition to top Chinese
content providers, iQIYI collaborates with leading global premium content providers, including
the “Big Six” Hollywood production studios, top TV networks in the U.S. and Netf`lix, which

further enriches iQIYI’s premium content offerings.

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 6 of 30

19. iQIYI broadcasts its programs to viewers worldwide-including to viewers in the

United States_over the lnternet, tablet applications, and mobile applications
PLAINTIFFS" EXCLU'SIVE COPYRIGHTED PROGRAMS AND TRADEMARKS

20. At all times material hereto, Plaintiff Beij ing iQIYI has the sole and exclusive right
in the United States to import, reproduce, distribute, publicly perform, broadcast, and enforce
rights of certain Chinese language audiovisual episodic programs over the lnternet, including over
IPTV (collectively, the “iQIYI Exclusive Shows”).

21. The iQIYI Exclusive Shows contain copyrightable subject matter under the laws of
the United States

22. The original authors and copyright owners of the iQIYI Exclusive Shows are
entities organized under the laws of China and are entitled to protection under the Copyright Act
through the Beme Convention, the Universal Copyright Convention, and other applicable laws
and treatises

23. The iQIYI Exclusive Shows are foreign works authored and first released in China,
Pursuant to Section 411(a) of the Copyright Act, Beij ing iQIYI is not required to register the
foreign works with the U,S. Copyright Office before filing a lawsuit for copyright infringement
Regardless, Plaintiff Beijing iQIYI has registered certain foreign works at issue,

24. The iQIYI Exclusive Shows include:

a. Shang Xin Le ‘ Gu Gong (Chinese Narne “J:YiT’ T§T”): 10 episodes,
original air date November 9, 2018 (copyright registration certificates attached as Exhibits Al-
Aio);

b. Mian Ju (Chinese Name “@R”): 40 episodes, original air date July 6,
201 8;

c. Yun Dian Zhi Shang (Chinese Name “z_:$i.l;”): 51 episodes, original
air date February 23, 201 ';';

d. Ai Guo Zhe (Chinese Name “Y _`1'§”): 50 episodes, original air date June

9,2013;

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 7 of 30

e. Xun Ren Da Shi (Chinese Name “§}\j§ll|i”): 36 episodes, original air date
June14, 2017;

f. Pei Du Ma Ma (Chinese Name “Il*t§iill£$ll§$”): 48 episodes, original air date
July l, 2018;

g. Te Hua Shi (Chinese Name “il§llf. UFE”): 43 episodes, original air date
November 19, 2017;

h. Huo Tou J un Ke Zhan (Chinese Name “1')<9< §-'§1°;%”); 24 episodes,
original air date August 4, 2018;

i. Yu Zui (Chinese Name “;-i`€§ii"€”): 24 episodes, original air date May 23,
2016;

j. J ia You Er Nv Chu Zhang Cheng (Chinese Name “KE)LYCV]KEE”): 30
episodes, original air date May 29, 2018;

k. Qin Ai De Ta Men (Chinese Name “§§Ei]i?llli|`l”): 41 episodes, original
air date December 10, 201?;

l. Wo Qu Shang Xue La (Chinese Name “YE §§ 11 § iii ”): 12 episodes,
original air date July 16, 2015; and

m. Wo Qu Shang Xue La, Season 2 (Chinese Name “ii`»%isl:_l:§lfi§:§”): 12
episodes, original air date June 26, 2016.

25. At all times material hereto, pursuant to applicable license agreements, Plaintiff
Beij ing iQIYI has the sole and exclusive right to import, reproduce, distribute, publicly perforrn,
broadcast, and enforce rights of the iQIY 1 Exclusive Shows over the lnternet in the United States
26. On information and belief, Defendants imported into the United States, reproduced,

distributed, publicly performed, broadcasted, and otherwise exploited the Exclusive iQIYI Shows

via iTalkBB’s IPTV platform without the authorization of Plaintiffs

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 8 of 30

2?. Plaintiff Beijing Qiyi Century owns common law trademark rights to “iQIYI” and
the logo marks identified below (collectively, the “iQIYl Marks”). The federal registration of the

iQIYI Marks are currently pending with the U.S. Patent and Trademark Office.

28. iQIYI has continuously used the iQIYI Marks since at least 2011 until the present,
and at all times relevant to the claims herein, The iQfYI Marks appear on all iQIYI shows,
including on the iQIYI Exclusive Shows.

29. On information and belief, Defendants, without the authorization from Plaintiffs or
the law, intentionally removed and has caused and induced others to remove the iQIYI Marks from
the iQIYI Exclusive Shows, and then distributed and publicly performed the iQIYl Exclusive
Shows without the iQIYl Marks.

DEFENDANTS’ PRODUCTS A_ND SERVICES

30. On information and belief, Defendants launched their [PTV service in about 2012.

3l. Defendants claim iTalkBB to be the “No. l telecom company in both the overseas
Chinese market and the overseas Korean market all over the globe,” with “over 1,200,000 iTalkBB
users located around the world” and “over 80% of Brand Awareness in Chinese communities in
the U.'S.”2

32. Defendants also claim iTalkBB’s programs to be “copyright granted”: “iTalkBB
Chinese TV provides the highest quality and most popular Chinese TV content with copyright
granted. It includes over 60 live channels and ?2-hour playback, the most popular Chinese movies,
TV series and variety shows in HD quality on demand Moreover, iTalkBB Chinese TV is
dedicated to collecting the best TV content that overseas Chinese are interested in, enabling

overseas users to enjoy high quality Chinese entertainment no matter where they are.”3

 

2 See https:ffwww.italkbb.comfusfen!companv-prof'ile.html (last accessed April 22, 20]9).
3 See https:/fwww.italkhb.comfus/enfcompany-profile.html (last accessed April 22, 2019),

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 9 of 30

33. On information and belief, Defendants’ IPTV service is made available to
subscribers through the purchase from Defendants of an IPTV set-top box that sits on top of the
viewer’s television. On information and belief, a subscriber is required to pay a monthly or annual
subscription fee before the subscriber can view Defendants’ IPTV contents

34. On information and belief, Defendants sell and offer to sell monthly and annual
subscriptions to subscribers of the iTalkBB IPTV contents The current subscription fees of the
i'l`alkBB Chinese TV contents are as follows: (1) $4,99/month for new users subscribing to
bundled home phone and TV services; (2) $ l4.99fmonth for new users subscribing to TV service
only; and (3) $59,99/year for existing users subscribing to TV service only,“

35, After paying a subscription fee, a subscriber_through connection via an iTalkBB
set-top box_can access iTalkBB’s Chinese TV programs via (1) on-demand menu, which gives
the subscriber unlimited streaming of various TV pro grarns, and (2) live TV channels from China,
Hong Kong and Taiwan.

36. On information and belief, Defendants engage “a professional content editing
team of iTalkBB [that] specializes in searching and editing the shows and topics that interest
immigrants the most, allowing customers to enjoy the best quality Chinese news and

entertainments while living abroad.” See screenshot below, available at

 

4 See https:/fwww.italkbb.comfus/enfchinese-tv-plans.html (last accessed April 22, 2019),

US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 10 of 30

hgp://www.shuzhangl120.com/italkbb/uncategorized/italkbb-meeting[ (last accessed April 22,

2019).

3')'.

o alui,..'.M-.\mmlmnm-iui\i.u-..i-._-ir);o...-hiit.\r-i...vimm.; *G $unrl\_
girmseii¢¢inis.iiiLm v `_'
F¢i car m rumors ram mrp

linn nmi-union

   
 

iTalchB was created and is dedicated to prchde better lives for Chinne overseas our products and
features have been tailored so dial our customers will tie able to enjoyl not only peace and comfort
abroad but also m keep in much with familyl and friends with no interruption

iTa||rBB is committed co provlde app|lcab|e products and services for lmrnlgranis with the
understanding of their real needs

iTalltBB Hon'ie Phor\e offers not onlyl high qualityl international callsl but also offers its revolutionary
Local Number SeNice. which has been developed excluslw:ly for die needs of overseas Chinese. lt
provides local phone numbers in Chinal Hong Kong, Tai\»\i'anl and South l(orea. which allows Friends
and family to call our customers directly without international calling charges iTalIrBB horne phone

has replaced die traditional home phone and added several tree additional services such as showing

caller lO. allowlng call waltlng, call dwertlng and ihree+\ray calling erc.

ila||¢t.\B Ch|nese 1’\¢, a huge hit since lts |at.inch, prov|des more than 60 popular ilve Chinese T\i
channels with a|| aud\orlred contents art-demand movles. and TV shows in hlgh-dennlrlon. ln
addlrior\. the professional content editing team of lTalItBB speclallzes in searching and edlting the
shows and topics that inoerest immigrants the mostv allowing customers to enjoy the best quality
Chinese news and entertainments while living abroad_

Now, iTalkBB has become the No_‘l inhernet telecom provider Lo global overseas Chinese and l¢orean

consumers and has more than 30 retail stories worldwide and over 'l.Z million users around Lhe
glohe. One ln five Chinese immigrants ln Norrn amer|ca ls our cuscomer. iTa|k BB's brand awareness
reaches SU% of Nurih nmerican Chinese.

erh the strong belief -'Life is good e\.'er_\,'\nhere-"l lTa|l<SB will launch more products and services for

Chinese immigrants in differenr areas and mill continue our efforts to create lives more dian
wonden'ul lor Chinue customers living abroad

_¥_E Fi'=i’i finn in E§Dll]

H

lE§

Znirrcllf:
xiii .*?:E_
201?$_]7_;

 

Defendants intentionally create the false impression on iTalkBB’s subscribers that

iTalkBB has the right and authority to broadcast the IPTV contents A screenshot from iTa.lkBB’s

website containing such misrepresentation is shown below, which states in relevant part that:

“iTalkBB Chinese TV grants access to copyrighted television content. We guarantee the reliability

US 6115088

 

zarcone-aar

aims- inxi¢-. umw. maim'- MBB annum sw, mm.
Ltvo Cmmne!s from Ctih'ia, ¢onvenient Ptaybriott Wii!iin 72 Hours
Hu|‘\o Hong gr|d Tgm" nmummrvm~xnmurmmmvmmymmumw

simmm-mnlmnlonmmlmcmmmmo¢¢

n-aommrvmw'nouim¢metmmirmammom.
Mmemn-m.wmiomm.nimimmnm nmi-
m.mmmmmwmmlmammim
xmnnuomm\iummaimiui

mmmmmmmmnminnmminnmnmmau¢u¢w

¢op'yrighl'»d 'N contents

n¢mcmmervmm\immmuimmmomi immune
aniMurrw-lmlilnxmmnmiumm
mmwwmwmnmmmmumiilnmm
mmnmcimw

_1|]_

lilly Lol.',a! \Fideoe

vwmmywmmmmmmmmmamw
imm-ummmmuaa.mmunnnmmuusammm
wwdnwmmm?\nimm'mlnmmmmmmm
murmuirm m.mmwmmmmmemm

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 11 of 30

and sustainability of programs that are accessible from our service. Users no longer need to worry
about any interruptions or instability of the programs provided by iTalkBB Chinese TV.”5

38. The iQIYI Exclusive Shows contain the iQIYI Marks in the upper-right corner in
each episode, demonstrating iQIYI’s exclusive ownership of these copyrighted materials At the
beginning and end of each episode of the iQIYI Exclusive Shows, Plaintiffs also include
identifying language indicating that iQIYI has the exclusive right to publish and perform these
shows over the lntemet. The iQIYI Marks and copyright identifying information is collectively
referred to as the “iQIYI Copyright Management Information.” For example, the screenshot below
shows the digital iQIYI Marks in the upper righthand corner of Beij ing iQIYI’s proprietary show
“Shang Xin Le-Gu Gong.” The digital mark in the upper-left corner “BTV” stands for “Beij ing

TV Station,” one of the authors of the show from whom Beijing iQIYI obtained an exclusive

license,

 

39. On information and belief, Defendants removed or cause to be removed the iQIYI
Copyright Mariagement Information from the iQIYI Exclusive Shows without authorization from
Plaintiffs or the law. Defendants then distributed, publicly performed, and broadcasted the iQIYI
Exclusive Shows_after removing the iQIY 1 Copyright Management Information_ knowing that
copyright management information has been removed without authority of Plaintiffs or the law,
knowing or having reasonable grounds to know that they will induce, enable, facilitate, or conceal

the infringement of Plaintiffs’ copyrights

 

5 See https:ffwww.italkbb.comrusfenfchinese-tv-plans.html (last accessed April 22, 2019),

_ 11 _
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 12 of 30

40. For example, as shown in the screenshot below, the iQIYI Marks were removed

from the show “Shang Xin Le'Gu Gong” when playing on the iTalkBB platform.

Tu.r'rm -T_ .'.:1-_-_ fin

 

41. As another example, “Yu Zui” is an inYl self-produced show that is only available
on the inYI platform Defendants unlawfully removed iQIYI’s Copyright Management
Information before broadcasting the iQIYI show “Yu Zui” on iTalkBB’s platform.

42. After removing iQIYI’s Copyright Management lnformati`on, Defendants then
made false representations that iTalkBB had the right and authority to distribute the iQIYI
Exclusive Shows, leading to consumers’ conidsion on source, origin, and copyright status of the
iQIYI Exclusive Shows.

43. Despite Defendants’ misrepresentation that iTalkBB has the right and authority to
broadcast the Chinese TV programs, Defendants never obtained authorization or license nom
Plaintiffs to market, promote, sell, offer to sell, broadcast, publicly perform, distribute, andfor
exploit the iQIYI Exclusive Shows. Over 400 episodes of the iQIYl Exclusive Shows were and
continue to be accessible to iTall<BB subscribers via the iTalkBB set-top box. Plaintiffs have never
received any licensing fees, royalties, or any other compensation from iTalkBB for the exploitation
of the inYl Exclusive Shows.

44. The extent of Defendants’ copyright infringement is massive. Over 400 shows

were and continue to be accessible to iTalkBB subscribers via the iTalchB set-top box.

_ 12_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 13 of 30

Screenshots of the unauthorized iQIY 1 Exclusive Shows that are on the iTalkBB platform are

attached as Exhibits B-N,

45. On information and belief, without any license or authorization, Defendants have:

8..

b.

Reproduced unauthorized copies of the iQIYI Exclusive Shows;

Imported the iQIYI Exclusive Shows into the United States;

Publicly performed, distributed, and broadcasted the iQIYI Exclusive
Shows over the Internet;

Obtained financial gain through the unlawful exploitation of the iQIYI
Exclusive Shows;

Used websites, telephone, mail, and interstate commerce to advertise, offer
to sell, sell, and distribute the iQIYI Exclusive Shows to consumers in the
United States, including in Texas and in this Judicial District;

lntentionally removed and has caused and induced others to remove
copyright management information from the iQIYI Exclusive Shows
without the authorization from Plaintiffs or the law, and then distributed and
publicly performed the iQIYI Exclusive Shows;

Falsely represented to its current and potential subscribers and the
consuming public about the source and origin of the iQIYI Exclusive
Shows; and

Falsely represented to its current and potential subscribers and the
consuming public that Defendants have the right and authority to broadcast

iTalkBB’s IPTV programs

46. On information and belief, Defendants willfully infringed the copyrighted

programs proprietary to Plaintiffs On information and belief, Defendants were aware of the

infringing activity, and the infringing activities were the result of reckless disregard for or willful

blindness to Beijing iQIYI’s copyrights For example, Defendants removed or cause to be

removed the iQIY 1 Marks from the iQIYI Exclusive Shows without authorization from Beijing

US 6115088

_13_

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 14 of 30

iQIYI or the law. Defendants then distributed, publicly perfonned, and broadcasted the iQIYI
Exclusive Shows-after removing the iQIYl Marks_without authority of Beij ing iQIYI or the
law, knowing or having reasonable grounds to know that they will induce, enable, facilitate, or
conceal the infringement of Beijing inYI’ s copyrights Defendants ’ unlawful conduct constitutes
reckless disregard for or willful blindness to Beijing iQIYI’s copyright

4?. As another example, “Yu Zui” is an iQIYI self-produced show that is only available
on the iQIYI platform, Defendants unlawfully removed iQIYI’s Marks before broadcasting the
iQIYI show “Yu Zui” on iTalkBB’s platfonn. On information and belief, Defendants never
obtained authorization or license to play this show on the iTalkBB platform, and Defendants’
unlawful conduct constitutes reckless disregard for or willful blindness to Beijing iQIYI’s
copyright

48. Defendants’ substantial and unauthorized importation, reproduction, public
performance, reproduction, and distribution of the iQIYl Exclusive Shows caused and continue to
cause significant harm and damage to Plaintiffs and undermine Plaintiffs’ reputation and goodwill,

FIRST CLAIM FOR RELIEF
Direct Copyright Infringement Against All Defendants and DOES 1-100
(17 U.S.C. §§ 101 et seq., 501 et seq.)

49. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim

50. Plaintiff Beijing iQIYI is the legal owner of the copyrights in the iQIYI Exclusive
Shows

51. Each episode in the iQIYI Exclusive Shows is an original audiovisual work fixed
in a tangible medium of expression and qualifies as copyrightable subject matter under Section
102 of the Copyright Act. Each episode in the iQIYI Exclusive Shows has its own copyright life,
is distinct, separate, and apart from the series, and has a separate economic value. Each episode
can be shown at different times and in different orders Each episode is a separate “wor ” for the

purposes of calculating statutory damages, where applicable

_ 14_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 15 of 30

52. Plaintiff Beijing iQIYI has the exclusive rights, pursuant to Section 106 of the
Copyright Act, to reproduce, distribute and publicly perform the iQIYI Exclusive Shows

53. Plaintiff Beijing iQIYI also has the exclusive right, pursuant to Section 602 of the
Copyright Act, to import and export the iQIYI Exclusive Shows

54. Neither Beijing iQIYI nor any other person authorized by Beijing iQIYI has granted
any license, consent, permission, or authorization to Defendants to exercise these exclusive rights

55. Defendants, by themselves and/or through their agents, infringed Beijing iQIYI’s
exclusive rights under 1? U.S.C, §§ 106 and 602 by importing, exporting, reproducing,
distributing, and publicly performing the iQIYI Exclusive Shows

56. ln addition to the unauthorized copies of the iQIYI Exclusive Shows, Beijing iQIYI
is informed and believes that Defendants constantly update the iTalkBB platform with new TV
shows Beijing iQIYI will seek leave to amend the Complaint when these additional infringing
shows are identified

57. Defendants’ infringing activities are willful and the result of reckless disregard for
or willful blindness to Beij ing iQIYl’s copyright

58. To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement, Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders officers and directors of
the business entity Defendants, and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,
the credits and obligations of the business entity and of the individual Defendants are shared, and
the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as iTalkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers, and induced

and materially contributed to the infringing activities Defendants’ business entity is the

_ 15_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 16 of 30

instrumentality conduit, and alter ego of the individual Defendants to avoid personal liability
Observance of the corporate formality would lead to an unjust result,

59. As a direct and proximate cause of Defendants’ copyright infringement, Beij ing
iQIYl is entitled to recover damages and Defendants’ profits in amounts to be proven at trial.

60. ln the alternative, for each of the registered shows (Shang Xin Le‘Gu Gong), at its
election, Beijing iQIYl is entitled to statutory damages of e.g,, up to $150,000 per episode (or
whatever amount the relevant statutes authorize), by virtue of Defendants’ willful infringement, or
for such other amounts that may be proper under 11 U,S,C, § 504,

61. Defendants’ continuing infringing activities caused and will cause substantial,
immediate, and irreparable injury to Beijing iQIYIv Unless enjoined and restrained by this Court,
Defendants will continue to infringe Beijing iQIYI’s copyrights Beijing iQIYl is entitled to
injunctive relief under l'i’ U,S.C. § 502.

62. Beij ing iQIYI is entitled to its costs and reasonable attorney’s fees as an exceptional
case and pursuant to 1? U.S,C. § 505.

W
Inducement of Copyright Infringement and Contributory Copyright Infringement
Against All Defendants and DOES 1-100
(17 U.S.C. §§ 101 er seq., 501 et seq.)

63. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim.

64. On information and belief, iTalkBB’s users, subscribers, and members of
Defendants’ IPTV service infringed and are infringing Beijing iQIYI’s exclusive rights by
searching for, acquiring, editing, uploading, and distributing the infringing copies of the iQIYI
Exclusive Shows On information and belief, Defendants engage “a professional content editing
team of iTalkBB [that] specializes in searching and editing the shows and topics that interest
immigrants the most, allowing customers to enjoy the best quality Chinese news and

entertainments while living abroad.” See

_ 16_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 17 of 30

http://www.shuzhangl 120.comiitalkbbfuncategorized/italkbb-meeting[. On information and

belief, Defendants intended, encouraged, and actively induced the direct infringement of the
iQIYI Exclusive Shows by these iTalkBB users, subscribers and members

65, On information and belief, Defendants purposefully induced and actively
encouraged iTalkBB members or their agents to search for, obtain, edit, and upload third-party
audiovisual programs to use as contents on the iTalkBB platform, in willful disregard of the
copyright owners’ rights in these audiovisual programs

66. On information and belief, iTalkBB and/or other Defendants distribute the iTalkBB
set-top box and other necessary devices/accessories in the United States, including in this District,
with the specific purpose of inducing and encouraging its users and subscribers to infringe the
copyrights in the iQIYI Exclusive Shows On information and belief, the starter package
containing a set-top box and accessories includes a user manual with step-by-step setup
instructions for the subscriber to set up the iTalkBB platform

67. The iTalkBB website contains step-by-step instructions guiding its users and
subscribers on how to set up the set-top box and connect to the iTalkBB platform, The iTalkBB
website also encourages its customers to contact iTalkBB’s customer service via telephone,
WeChat, and email in case the customer needs assistance setting up the iTalkBB TV service.

Below is a screenshot from iTalkBB’s website showing setup instructions

§ flaws 2

 

 

iTillkBB Chinese T\l' Box lnsta|latlon

l'|'allr 99 Chinese T\l' Box lntti\llnt`mrl Di|ogram

. _ Tlil' Flc-s - Siivc\r

 

 

_ 17_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 18 of 30

68. Defendants have taken affirmative steps to materially cause, induce, encourage and
contribute to the direct infringement of Beij ing iQIYl’s copyrights by marketing the iTalkBB IPTV
service, selling the iTalkBB IPTV subscriptions distributing the iTalkBB set-top box, and
encouraging and facilitating the iTalkBB members and/or their agents to upload or contribute
infringing, unauthorized copies of the iQIYl Exclusive Shows

69. Defendants are aware that they do not have any license or authorization to import,
distribute, publicly perform, or otherwise exploit the iQIYI Exclusive Shows Defendants are also
aware that the iTalkBB members and/or their agents are unlawfully importing, reproducing,
distributing, and publicly performing the inYI Exclusive Shows by making unauthorized copies
of the iQIYl Exclusive Shows and uploading them into the iTalkBB platform.

70. Defendants’ contributory and inducement of infringing activities are willful,
purposeful, intentional, and the result of reckless disregard for or willful blindness to Beij ing
iQIYI’s copyright

71. To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement, Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders officers and directors of
the business entity Defendants and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,
the credits and obligations of the business entity and of the individual Defendants are shared, and
the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as iTalkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers, and induced
and materially contributed to the infringing activities Defendants’ business entity is the
instrumentality, conduit, and alter ego of the individual Defendants to avoid personal liability.

Observance of the corporate formality would lead to an unjust result.

_ 13_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 19 of 30

?2. As a direct and proximate cause of Defendants’ contributory and inducement of
copyright infringement Beij ing inYl is entitled to recover damages and Defendants’ profits in
amounts to be proven at trial.

?3. ln the alternative, for each of the registered shows ( Shan g Xin Le-Gu Gong), at its
election, Beijing iQIYl is entitled to statutory damages of e.g,, up to $150,000 per episode (or
whatever amount the relevant statutes authorize), by virtue of Defendants’ willful infringement, or
for such other amounts that may be proper under 17 U,S,C. § 504.

74. Defendants’ continuing infringing activities caused and will cause substantial,
immediate, and irreparable injury to Beijing iQIYI, Unless enjoined and restrained by this Court,
Defendants will continue to infringe Plaintiff’ s copyright Beijing iQIYI is entitled to injunctive
reliefunder 17 U.S.C. § 502.

?5. Bei j ing iQIYI is entitled to its costs and reasonable attorney’s fees as an exceptional
case and pursuant to 1'r' U.S.C. § 505.

THIRD CLAIM FOR RELIEF
Vicarious Copyright Infringement Against All Defendants and DOES 1-100
(l'l' U.S.C. §§ 101 et seq., 501 et seq.)

76. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim.

??. On information and belief, Defendants have the power, authority, and obligation to
supervise the infringing activities of iTalkBB’s members and their agents Defendants are thus
vicariously liable for each of these infringing activities under l'r' U.S.C. §§ 106, 602, and 501.

78. On information and belief, the iTalkBB members and/or their agents directly
infringe Bei j ing iQIYl’s copyrights by searching for, obtaining, editing, and uploading third-party
audiovisual programs to use as contents on the iTalkBB platform, including the infringing copies
of the iQIYI Exclusive Shows Defendants derive direct financial gain from the direct infringing

activities of the iTalkBB members and/or their agents

_ 19_
U56115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 20 of 30

?9. On information and belief, Defendants have the power and ability to control the
iTalkBB IPTV service by suspending service to subscribers who did not pay their subscription
fees

80. On information and belief, Defendants have the power and ability to control the
contents on the iTall<BB platform, by suspending and ceasing the infringing activities, screening
the iTalkBB on-demand programs to filter out the infringing programs and supervising the
iTalkBB members and/ or their agents to only make authorized programs available on the platform,

81. On information and belief, Defendants have the power, ability, and obligation to
supervise the activities of the iTalkBB members and/ or their agents and prohibit any member from
infringing Beij ing iQIYI’s copyrights

82. Defendants’ vicarious copyright infringement are willful, purposeful, intentional,
and the result of reckless disregard for or willful blindness to Beijing iQ_lYI’s copyrights

83. To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders, officers, and directors of
the business entity Defendants, and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,
the credits and obligations of the business entity and of the individual Defendants are shared, and
the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as i'l`alkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers, and induced
and materially contributed to the infringing activities Defendants’ business entity is the
instrumentality, conduit, and alter ego of the individual Defendants to avoid personal liability

Observance of the corporate formality would lead to an unjust result.

_ 20_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 21 of 30

84. As a direct and proximate cause of Defendants’ contributory and inducement of
copyright infringement Plaintiff Beijing in`Yl is entitled to recover damages and Defendants’
profits in amounts to be proven at trial.

85. ln the alternative, for each of the registered shows ( Shan g Xin Le-Gu Gong), at its
election, Beijing iQIYI is entitled to statutory damages of, e,g., up to $150,000 per episode (or
whatever amount the relevant statutes authorize) by virtue of Defendants’ willful infringement, or
for such other amounts that may be proper under 17 U,S,C. § 504.

86. Defendants’ continuing infringing activities caused and will cause substantial,
immediate, and irreparable injury to Beijing iQIYI, Unless enjoined and restrained by this Court,
Defendants will continue to infringe Beijing iQIYI’s copyright Beijing iQIYI is entitled to
injunctive relief under 17 U.S.C. § 502.

87. Bei j ing iQIYI is entitled to its costs and reasonable attorney’s fees as an exceptional
case and pursuant to 17 U.S.C. § 505.

FOUR']`H CLAIM FOR RELIEF
Violation of the DMCA Against All Defendants and DOES 1-100
(17 U.S.C. § 1202(b))

88. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim.

89. Defendants, without the authorization from Beijing iQIYI or the law, intentionally
removed and have caused and induced others to remove copyright management information from
the iQIYI Exclusive Shows, and then distributed and publicly performed the iQIYl Exclusive
Shows knowing and/or having reasonable grounds to know that such acts will induce, enable,
facilitate or conceal an infringement of copyright, in violation of 17 U.S.C, § 1202(b)(1) and (3),

90. The alteration of the inYI Copyright Management Information from the in`Yl
Exclusive Shows and subsequent distribution and public performance of these shows by iTalkBB
were and are willful and intentional, with full knowledge of Beij ing iQIYl’s rights under the

copyright law, and in disregard of those rights

_ 21 _
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 22 of 30

91. To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders, officers and directors of
the business entity Defendants, and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,
the credits and obligations of the business entity and of the individual Defendants are shared, and
the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as iTalkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers, and induced
and materially contributed to the infringing activities Defendants’ business entity is the
instrumentality conduit and alter ego of the individual Defendants to avoid personal liability
Observance of the corporate formality would lead to an unjust result

92. As a direct and proximate cause of Defendants’ violation of the DMCA, Beij ing
iQIYl is entitled to recover damages and Defendants’ profits in amounts to be proven at trial.

93. ln the alternative, at its election, Beijing iQIYI is entitled to statutory damages of`,
e,g,, up to 825,000 (or whatever amount the relevant statutes authorize) for each unauthorized act
of reproduction, distribution, or public performance with removed copyright management
information pursuant to 17 U.S.C, § 1203(c).

94. Bei j ing iQIYl is entitled to recover costs and attorney’s fees from Defendants as an
exceptional case and pursuant to 17 U,S.C. § 1203(b)(4) and (5).

95. Defendants’ continuing infringing activities caused and will cause substantial,
immediate, and irreparable injury to Beijing iQIYI, Unless enjoined and restrained by this Court,
Defendants will continue to infringe Beijing inYl’s copyright Beijing iQIYl is entitled to
injunctive relief under 17 U.S.C. § 1203(b)(1).

_ 22_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 23 of 30

FIFTH CLAIM FOR RELIEF
False Designation of Origin and False Advertising
Against All Defendants and DOES 1-100
115 U.S.C. § 1125§2\||

96. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim.

97. Plaintiff Beijing Qiyi Century is the legal owner of the iQIYI Marks. iQIYI has
been using the iQIYl Marks since at least 2011. Consumers associate and recognize the iQIYI
Marks as representing a single source or sponsor of services, and thus the iQIYI Marks are
protectable trademarks under common law. The iQIYI Marks are distinctive and nonfunctional.

98. Defendants, without the authorization from Plaintiffs or the law, intentionally
removed and have caused and induced others to remove the iQIYI’s Marks from the iQIYI
Exclusive Shows, and then distributed and publicly performed the iQIYI Exclusive Shows without
the iQIYI Marks

99. For example, on information and belief, Defendants removed the inYI Marks
before broadcasting the iQIYI show “Shang Xin Le'Gu Gong” from iTalkBB’s platfonn. As
another example, “Yu Zui” is an inYl self-produced show that is only available on the inYI
platform Defendants unlawfully removed the inYI Marks before broadcasting the iQIYI show
“Yu Zui” on iTalkBB’s platform

100, The unauthorized removal of the iQIYI Marks from the iQIYl Exclusive Shows
constitutes a misattribution and a false or misleading representation to the consumers on the source
and origin of these iQIYl Exclusive Shows in violation of 15 U,S.C. § 1125(a)( l ).

101, After removal of the iQIYI Marks, Defendants intentionally create the false
impression on consumers that iTalkBB has the right and authority to broadcast the IPTV contents
Defendants falsely claim that “iTalkBB Chinese TV grants access to copyrighted television

content We guarantee the reliability and sustainability of programs that are accessible from our

_ 23_
U56115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 24 of 30

service. Users no longer need to worry about any interruptions or instability of the programs
provided by iranian Chinese Tv,”6

102. The sale, advertising, distribution and exploitation by Defendants of the iQIYI
Exclusive Shows_after the unauthorized removal of the inYl Marks_are false or misleading
and are likely to cause and has caused confusion, or to deceive the consumers with respect to the
affiliation, connection, or association, or as to the origin, sponsorship, or approval commercial
activities, all to the detriment of Plaintiffs, in violation of 15 U.S,C. § 1125(a)(1),

103, The misrepresentation by Defendants is intentionally designed to deceive and has
deceived consumers and customers subscribers, viewers, and clients by creating the false
impression that the inYI Exclusive Shows are authorized and licensed for use by Defendants

104. Defendants’ misrepresentation and deception constitute willful and intentional
violation of the Lanham Act § 43(a), including unfair competitionl

105. Defendants’ false description, false representation, false designation of origin, false
advertising, and unauthorized removal of the iQIYl Marks was knowing, willful, and deliberate,
making this an exceptional case.

106. As a direct and proximate result of Defendants’ willful misrepresentation, Plaintiffs
are entitled to enhanced damages as provided by law.

107. As a direct and proximate result of Defendants’ misrepresentation and deception,
the public is likely to be confused as to the origin and source of the iQIYI Exclusive Shows and/or
believe that these iQIYI Exclusive Shows are authorized and licensed for use or otherwise by
Plaintiffs for use by Defendants Plaintiffs have suffered, and will continue to suffer, irreparable
injury to its rights and suffer substantial loss of goodwill and in the value of the iQIYI Marks
unless and until Defendants are enjoined from continuing their wrongful acts

108. As a direct and proximate result of Defendants’ misrepresentation and deception,

Plaintiffs have suffered, and continue to suffer, injury, loss, and damages in an amount to be proven

 

6 See https:/fwww.italkbb.comfus/enfchinese-tv-plans.html (last accessed April 22, 2019),

_ 24_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 25 of 30

at trial. Plaintiffs are entitled to injunctive relief, monetary damages, and other remedies provided
by Sections 1116, 1117, and 1118 of the Lanham Act.

109. To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders officers and directors of
the business entity Defendants and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,
the credits and obligations of the business entity and of the individual Defendants are shared, and
the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as iTalkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers, and induced
and materially contributed to the infringing activities Defendants’ business entity is the
instrumentality, conduit, and alter ego of the individual Defendants to avoid personal liability.

Observance of the corporate formality would lead to an unjust result.

SIXTH CLAIM FOR RELIEF
Common Law Conspiracy Against All Defendants and DOES 1-100

110. Plaintiffs reallege and incorporate by reference the preceding paragraphs set forth
above as though set forth in full in this claim

111. Plaintiff Beijing iQIYI has the exclusive rights, pursuant to Section 106 of the
Copyright Act, to reproduce, distribute and publicly perform the iQIYI Exclusive Shows

112, Plaintiff Beijing iQIYI also has the exclusive right, pursuant to Section 602 of the
Copyright Act, to import and export the iQIYI Exclusive Shows

1 13. Plaintiff Beij ing Qiyi Century has the exclusive rights to the iQIYl l\/larks.

114. Neither Plaintiffs nor any other persons authorized by Plaintiffs have granted any

license, consent, permission, or authorization to Defendants to exercise these exclusive rights

_ 25_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 26 of 30

115, The DOE defendants include various iTalkBB affiliated entities that control, are
controlled by, or under common control with Defendants The DOE defendants also include
iTalkBB’s members andi’or their agents, such as the content editing team, who are unlawfully
importing, reproducing, distributing, and publicly performing Plaintiffs’ copyright and trademark
protected materials and uploading them into the iTalkBB platform The DOE defendants further
include iTalkBB’s executives, managers, and supervising persons who had knowledge of the
copyright infringement and induced or materially contributed to the infringing activities On
information and belief, the iTalkBB executives, managers, and supervising persons have the
power, authority, and obligation to supervise the infringing activities of iTalkBB’s members and
their agents

116. Defendants have a common object to unlawfully infringe and violate Plaintiffs’
rights with respect to the iQIYI Exclusive Shows, as discussed above, and deceive the consuming
public regarding the origin/source of these shows, and have a meeting of minds to conduct these
unlawful activities, including without limitation importing, copying, reproducing, publicly
performing, distributing, broadcasting, transmitting, marketing, selling, offering for sale, and
otherwise exploiting Plaintiffs’ copyrighted materials over the i”l`alkBB platform and removing the
iQIYI Marks from these copyrighted materials

117 , As described above, Defendants engaged in unlawful, overt and intentional acts
amounting to infringement and violation of Plaintiffs’ rights with respect to the iQIYI Exclusive
Shows

118, To the extent one or more Defendants claim that the other Defendants are
responsible for the infringement Plaintiffs are informed and believe that such Defendant is subject
to alter ego liability for the infringing conducts There is a unity of interest and ownership among
the Defendants Certain individual Defendants are the sole stockholders, officers, and directors of
the business entity Defendants, and such business entities are so controlled by said individual
Defendants that the funds of the business entity and of the individual Defendants are commingled,

the credits and obligations of the business entity and of the individual Defendants are shared, and

_ 26_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 27 of 30

the funding of the business entity is insufficient to meeting reasonable requirements These
individual Defendants, such as iTalkBB’s executives, have direct financial benefit from the
infringing activities alleged herein, ignored their obligation to supervise the infringers and induced
and materially contributed to the infringing activities Defendants’ business entity is the
instrumentality, conduit, and alter ego of the individual Defendants to avoid personal liability
Observance of the corporate formality would lead to an unjust result

119, As a direct and proximate cause of Defendants’ conspiracy, Plaintiffs are entitled
to recover damages and Defendants’ profits in amounts to be proven at trial.

120, Defendants’ continuing infringing activities caused and will cause substantial,
immediate, and irreparable injury to Plaintiffs Unless enjoined and restrained by this Court,
Defendants will continue to infringe Plaintiffs’ copyright and trademark rights. Plaintiffs are
entitled to injunctive relief.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against each of the Defendants as follows:

]. That each of the Defendants be permanently enjoined from all infringing conducts,
and specifically enjoined from the following:

a. lmporting, copying, reproducing, publicly performing, distributing,
broadcasting, transmitting, marketing, selling, offering for sale, and otherwise exploiting any
audiovisual content or products containing the copyrights owned or licensed by Plaintiffs;

b. Engaging in any activity which is likely to cause others to falsely believe
that Plaintiffs have authorized or licensed to Defendants to use Plaintiffs’ copyrights;

c. Assisting, aiding, or abetting any person in conducting any of the activities
described in paragraphs (a) and (b);

d. Removing andfor altering the iQIYI Copyright Management Information;

and

_ 27_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 28 of 30

e. Transmitting or distributing Plaintiffs’ proprietary, copyright and trademark
protected programs over the lnternet, or by other means, to persons not authorized by Plaintiffs to
receive or view such programs

2. With respect to Claims for Relief I, II, and III (direct, contributory, and vicarious
copyright infringement):

a. As damages for Shang Xin Le-Gu Gong (10 episodes, registered), at
Plaintiffs’ election before entry of final judgment, that Plaintiffs be awarded either actual damages
along with Defendants’ profits deriving from the unauthorized use of the works, or statutory
damages pursuant to l? U,S,C, § 504(c)( l) in the amount of up to $30,000 for each registered work
infringed, and to increase that amount to 3150,000 for each registered work infringed in accordance
with 17 U.S,C, § 504(c)(2), or whatever statutory damages are authorized by the relevant statutes;

b. As damages for the remaining unregistered shows, that Plaintiffs be
awarded actual damages along with Defendants’ profits deriving from the unauthorized use of the
workS;

c. For Plaintiffs’ costs and attorney’s fees as an exceptional case and under 1?
U.S.C. § 505; and

d. For impounding and disposing infringing articles under l? U,StC. § 503.

3. With respect to Claims for Relief IV (violation of the DMCA):

a. As damages for Shang Xin Le-Gu Gong (10 episodes, registered), at
Plaintiffs’ election before entry of final judgment, that Plaintiffs be awarded either actual damages
along with Defendants’ profits deriving from the unauthorized removal and distribution of the
iQIYI Exclusive Shows, or statutory damages pursuant to l'i' U.S,C. § 1203(c) in the amount of
up to $25,000 for each unauthorized act of reproduction, distribution, or public performance with
removed copyright management information, or whatever statutory damages are authorized by the

relevant statutes;

_ 23_
US 6115088

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 29 of 30

b. As damages for the remaining unregistered shows, that Plaintiffs be
awarded actual damages along with Defendants’ profits deriving from the unauthorized use of the
works; and

c. Plaintiffs be awarded costs and attorney’s fees as an exceptional case and
pursuant to l? U,S.C, § 1203(b)(4) and (5).

4. With respect to Claim for Relief V (false designation of origin, false advertising):

a. Plaintiffs be awarded damages along with Defendants’ profits deriving from
Defendants’ willful, intentional, and malicious false designations of origin, false descriptions
misrepresentation of fact, and unfair competition, pursuant to 15 U,S,C, § lll?(a);

b. Plaintiffs be awarded attorney’s fees as an exceptional case and pursuant to

15 U.S,C, § lll?(a)(3); and

c. Plaintiffs be awarded exemplary and punitive damages
5, With respect to Claim for Relief Vl (common law conspiracy):

a. Plaintiffs be awarded damages deriving from Defendants’ wrongful

conducts; and

b. Plaintiffs be awarded exemplary and punitive damages
6. For compensatory and statutory damages permitted by law,
7. For Plaintiffs’ attorney’s fees and costs
8, For such additional relief as the Court may deem just and proper

pEMANl_) FOR JURY TRLAL

 

In accordance with Rule 38 of the Federal Rules of Civil Procedure, Beijing iQIYl and
Beij ing Qiyi Century, by separate filing, respectfully demand a jury trial of all issues triable to a

jury in this action.

_ 29_
US 6115083

Case 6:19-cV-00272-ADA Document 1 Filed 04/23/19 Page 30 of 30

Dated: April 23, 2019

US 6115083

Respectfully submitted,
VINSON & ELK[NS L,L.P.

By: /s/ M Craig vaer

M, Craig Tyler
Texas State Bar No. 00?94?62
2801 Via Fortuna, Suite 100
Austin, TX ?8?46-?568
Telephone: +1,512.542.8440
Facsimile: +1.512.236.3256
E-Mail: ctyler@velaw.com

Chao “Wendy” Wang (Pro Hac Vi`ce
Forlhcoming)

Calif`ornia State Bar No. 289325

VINSON & ELK[NS L.L.P.

555 Mission Street, Suite 2000

San Francisco, CA 94105

Telephone: +].415.979.6900

Facsin‘iile: +1.415.651_8786

E-Mail: wwang@velaw.com

Parker Hancock (Pro Hac Vr`ce For!hcomi`iig)

Texas State Bar No. 24108256

VINSON & ELK[NS L.L.P.

1001 Fannin Street, Suite 2500

HOuStOrl, TX ?T002-6760

E-Mail: phancock@velaw.com

Telephone: +1.7"13,758.2153

Facsimile: +l.?l3.615-5140

A'I`TORNEYS FOR BEIJING IQIYI
SCIENCE & TECHNOLOGY CO., LTD.
AND BEIJING QIYI CENTURY SCIENCE
& TECHNOLOGY CO.., LTD.

_30_

